Case 21-32351 Document 846-14 Filed in TXSB on 12/03/21 Page 1 of 2




                 EXHIBIT 14
                Case 21-32351 Document 846-14 Filed in TXSB on 12/03/21 Page 2 of 2




From: Bobby Salehi <Bobby.Salehi@lonestarports.com>
Sent: Wednesday, November 17, 2021 4:33 PM
To: Frank Cottrell <fcottrell@brileyfin.com>; Mark Shapiro <mshapiro@brileyfin.com>; Project.COCONUT.Jr.2021
<Project.COCONUT.Jr.2021@jefferies.com>
Cc: Wyrick, Martha <Martha.Wyrick@haynesboone.com>; McDonald, Bill <Bill.McDonald@haynesboone.com>; Hughes,
Patrick <Patrick.Hughes@haynesboone.com>; Lawrence Berry <alb@riverway.us>; Tonja Fulghum Riverway
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<pwisniewski@riverway.us>
Subject: Bay Ltd. Asset Purchase Agreement ‐ Project Coconut 2021 ‐ Limetree Bay Refinery

EXTERNAL: Sent from outside Haynes and Boone, LLP

B Riley / Jeffries Team –

Please see attached and the Google Drive link below for the Bay Ltd Asset Purchase Agreement (“APA”) and
corresponding schedules.

The attached documents include:
    1. Our revised APA in Word format
    2. Redlined APA in PDF format
    3. An executed version of the APA in PDF format

Additionally, see hyperlink below for a list of our Schedules:

https://drive.google.com/drive/folders/1hwRnjK50jv‐Imn9DChJtAufXbmAAUMTB?usp=sharing

Best regards,

Bobby Salehi
Lone Star Ports
Chief Financial Officer
Office: (713) 623‐2412
Cell: (832) 279‐4814


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